              Case 24-90213 Document 94 Filed in TXSB on 05/07/24 Page 1 of 5
                                     Electronic Appearance Sheet


Joshua Cohen, Day Pitney LLP
Client(s): GenHoldCo, LLC

Andrew Troop, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Terri Freedman, Chiesa Shahinian & Giantomasi
Client(s): Cardinal Health

Sam Alberts, Dentons US LLP
Client(s): Massachusetts Nurses Association

Travis Peene, Weil, Gotshal & Manges LLp
Client(s): Debtors

Stephanie Morrison, Weil, Gotshal & Manges LLP
Client(s): Debtors Counsel

David Cohen, Weil, Gotshal & Manges LLP
Client(s): Debtors Counsel

Ray Schrock, Weil, Gotshal & Manges LLp
Client(s): Debtors Counsel

Jason George, Weil, Gotshal & Manges LLp
Client(s): Debtors Counsel

Loren Findlay, Weil, Gotshal & Manges LLP
Client(s): Debtors Counsel

Candace Arthur, Weil, Gotshal & Manges LLP
Client(s): Debtors Counsel

Hugh McDonald, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Andrew Alfano, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Alana Lyman, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Claire Wu, Pillsbury Winthrop Shaw Pittman LLP



Page 1 of 5
              Case 24-90213 Document 94 Filed in TXSB on 05/07/24 Page 2 of 5
                                        Electronic Appearance Sheet


Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Andrew Alfano, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Hugh McDonald, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Tracey Ohm, Stinson LLP
Client(s): Oracle Cerner, successor to Cerner Corporation

Roland Goff , Pro Se, None, Pro Se
Client(s): Massachusetts Nurses Association

Sarah Kroll-Rosenbaum, Akerman LLP
Client(s): Prolink Healthcare

Nir Maoz, KTBS Law LLP
Client(s): Medical Properties Trust, Inc. and Affiliates

Sasha Gurvitz, KTBS Law LLP
Client(s): Medical Properties Trust, Inc.

Thomas Patterson, KTBS Law LLP
Client(s): Medical Properties Trust, Inc. and Affiliates

Paul Possinger, Proskauer
Client(s): Brighton Marine, Inc.

Hugh McDonald, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Commonwealth of Massachusetts

David Papiez, Fox Rothschild LLP
Client(s): Philips North America LLC

Mark Finkelstein, Shannon Martin Finkelstein Alvarado & Dunne, P.C.
Client(s): GenHoldCo LLC

Christopher Donoho, Hogan Lovells
Client(s): Collaborative Care

Kris Hansen, Paul Hastings LLP
Client(s): ABL Parties

Chris Guhin, Paul Hastings LLP


Page 2 of 5
              Case 24-90213 Document 94 Filed in TXSB on 05/07/24 Page 3 of 5
                                        Electronic Appearance Sheet


Client(s): ABL Parties

Matthew Micheli, Paul Hastings LLP
Client(s): ABL Parties

Andrew Gallo, Morgan Lewis
Client(s): Aya Healthcare

James B Sowka, Seyfarth Shaw LLP
Client(s): Blue Cross and Blue Shield of Massachusetts, Inc.

Thomas Patterson, KTBS Law LLP
Client(s): Medical Properties Trust and related entities

William Hackney, Seyfarth Shaw LLP
Client(s): Blue Cross and Blue Shield of Massachusetts, Inc.

Tabish Rizvi, Dundon Advisers
Client(s): Interest Party/UCC

Caroline Fagerli, FTI Consulting
Client(s): None

Andrew Kramer, Otterbourg, PC
Client(s): Siemens Financial Services, Inc.

David Parham, Akerman LLP
Client(s): Prolink Staffing LLC

John Higgins, Porter Hedges LLP
Client(s): CareMax, Inc.

Trey Monsour, Fox Rothschild, LLP
Client(s): Finthrive, Inc.

Megan Young-John, Porter Hedges LLP
Client(s): CareMax, Inc.

Charles Dale, Proskauer
Client(s): Brighton Marine, Inc.

Samuel Rowley, Seyfarth Shaw LLP
Client(s): Blue Cross and Blue Shield of Massachusetts, Inc.

Andrew Troop, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth

of Massachusetts and the Attorney General of the Commonwealth of Massachusetts



Page 3 of 5
              Case 24-90213 Document 94 Filed in TXSB on 05/07/24 Page 4 of 5
                                        Electronic Appearance Sheet



Hugh McDonald, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Andrew Alfano, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Claire Wu, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Alana Lyman, Pillsbury Winthrop Shaw Pittman LLP
Client(s): Executive Office of Health and Human Services of the Commonwealth of Massachusetts and
the Attorney General of the Commonwealth of Massachusetts

Jolene Wise, US Securities & Exchange Commission
Client(s): US Securities & Exchange Commission

Daniel Ferretti, Baker Donelson Bearman Caldwell & Berkowitz PC
Client(s): Medical Properties Trust, Inc. and certain of its affiliates

Sean Davis, Winstead PC
Client(s): Siemens Financial Services, Inc.

Kristopher Hansen, Paul Hastings LLP
Client(s): ABL Parties

Barry Brown, Barry A. Brown, PC
Client(s): Houston Avocado Company, Inc

Sara Shahbazi, Ballard Spahr LLP
Client(s): Broadstone MED Florida, LLC

Ray Schrock, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

Candace Arthur, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

David Cohen, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

Stephanie Morrison, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

Robert Berezin, Weil, Gotshal & Manges LLP


Page 4 of 5
              Case 24-90213 Document 94 Filed in TXSB on 05/07/24 Page 5 of 5
                                       Electronic Appearance Sheet


Client(s): Debtors' Counsel

Jason George, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

Tracey Ohm, Stinson LLP
Client(s): Oracle Cerner, successor to Cerner Corporation

Loren Findlay, Weil, Gotshal & Manges LLP
Client(s): Debtors' Counsel

John D'Amico, Miller Buckfire
Client(s): Managing Director Restructuring Investment Banker

Shannah Colbert, Mirick, O'Connell, DeMallie & Lougee, LLP
Client(s): Point32 Health

Eric von Helms, Kohner, Mann & Kailas, S.C.
Client(s): Abbott Laboratories Inc.

Leah Fiorenza McNeill, Alston & Bird
Client(s): Potential representation

Katchena Potter, None
Client(s): N/a

Thomas Patterson, KTBS Law LLP
Client(s): Medical Properties Trust and related entities

Latonia Williams, Shipman & Goodwin LLP
Client(s): Change Healthcare and UnitedHealthcare Insurance Company

Sasha Gurvitz, KTBS Law LLP
Client(s): Medical Properties Trust, Inc. and Certain Affiliates (Proposed DIP Lender, Prepetition Secured
Lender, and Real Property Lessor)




Page 5 of 5
